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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                         10/19/2020
 Zixiang Yao et al.,

                                   Plaintiffs,
                                                           1:20-cv-07315 (GBD) (SDA)
                       -against-
                                                           ORDER
 Ken Cuccinelli et al.,

                                   Defendants.


STEWART D. AARON, United States Magistrate Judge:

       This case has been assigned to me for general pretrial management. (ECF No. 9.) The

parties (or, if no defendant has appeared in the case, only the plaintiffs) shall appear for a

Telephone Conference on Wednesday, October 28, 2020 at 11:00 a.m. to discuss the status of

this case. At the scheduled time, the parties shall each separately call (888) 278-0296 (or (214)

765-0479) and enter access code 6489745.

SO ORDERED.

DATED:         New York, New York
               October 19, 2020

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                                                 STEWART D. AARON
                                                 United States Magistrate Judge
